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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


JOE HOLCOMBE et al.                                §
                                                   §
-vs-                                               §                  SA-18-CV-00555-XR
                                                   §
UNITED STATES OF AMERICA,                          §
             Defendant                             §
                                                   §
                                                   §


                     ORDER RE-SETTING PRETRIAL CONFERENCE

        On this day the Court considered the status of this case. This case is set for trial on April
5, 2021. Due to scheduling conflicts, the pretrial conference is now re-set to Thursday, March
25, 2021 at 1:30 p.m. The Courtroom Deputy will inform the parties of the means by which the
pretrial conference will be conducted.

       It is so ORDERED.

       SIGNED this 11th day of February, 2021.




                                              XAVIER RODRIGUEZ
                                              UNITED STATES DISTRICT JUDGE
